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IN THE UNITED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT oF TENNESSEE QSJUN_E pH 5,03
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L,U;H'K. L..*..‘;d. LJSST, CT.

V`JD, : "\ ?"`..! r*
DONNIE E. JoHNsoN, OFTN.MHAAMS

Petitioner,

V. No. 97-3052"D
RICKY BELL, Warden,
RIVERBEND MAXIMUM SECURITY
INSTITUTION,

Respondent.

 

ORDER

 

Petitioner Donnie Johnson, an inmate under a sentence of death
at the Riverbend Maximum Security Institution (“RMSI”), in
Nashville, Tennessee, seeks relief from this Court’s March l, 2001
judgment denying him habeas corpus relief and has filed a motion
requesting relief pursuant to this Court's inherent authorityr
and/or for relief from judgment pursuant to Rule 60(b) of the
Federal Rules of Civil Procedure.

On November 9, 2004, this Court stayed Petitioner's scheduled
execution pending the Sixth Circuit Court of Appeals' en banc
decision in In re Abdur’Rahman, 392 F.3d 1?4 (2004), and this
Court’s subsequent consideration of Petitioner's Rule 60(b) motion.
Respondent’s motion to vacate the stay of execution was denied by
the Sixth Circuit subject to renewal of the nmtion after the

decision in Abdur’Rahman, Johnson v. Bell, No. 04-6361 (6th Cir.

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Nov. 15, 2004), whereupon Respondent then moved the Sixth Circuit
to dismiss the motion pursuant to Rule 42(b) of the Federal Rules
of Appellate Procedure.

ln December 2004, the Sixth Circuit released its opinion in
Abdur’Rahman addressing the circumstances under which a district
court may properly consider a Rule 60(b) motion for relief from
judgment in habeas corpus cases. Adopting a “functional approach,”
the Sixth Circuit held that a nwtion for relief which merely
challenges the integrity of the district court's judgment, pursuant
to the provisions of Rule 60(b), may be considered by the district
court. Abdur’Rahman, 392 F.3d at lBl. However, if the purported
Rule 60(b) motion seeks to relitigate the constitutionality of the
underlying conviction or sentence, the AEDPA applies and the
district court is without jurisdiction to consider the motionJ ld;
Accordingly, the petitioner in such instances must obtain approval
from a panel of the court of appeals to file a second or successive
habeas application pursuant to 28 U.S.C. § 2244(b){3)(A).

Subsequent to the release of Abdur’Rahman, Petitioner has
moved for a status conference to coordinate continued litigation,
and Respondent has moved to vacate the stay of execution entered by
this Court. Respondent argues that the grounds relied upon in the
Petitioner’s motion for relief are prohibited attempts at
relitigation of the constitutionality of his trial and sentence

under the standards enunciated iii Abdur'Rahman. Respondent's

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Motion to Vacate Stay of Execution at 3. Petitioner has responded,
arguing that the law governing Rule 60(b) motions in habeas corpus
cases is still unsettled, and that the stay of execution should
remain in effect until the Supreme Court finally decides the proper
role of Rule 60(b) in habeas corpus proceedings. Petitioner's
Response to Motion to Vacate Stay of Execution at 2.

The Court finds that the law respecting Rule 60(b) motions for
relief in habeas cases remains unsettled despite the decision in
Abdur’Rahman. lt is apparent that the Sixth Circuit itself is
divided on how the standards announced in Abdur’Rahman are to be
applied. Compare Allev v. Bell, 392 F.3d 822, 829 (6th Cir. 2004)
vacated by Alle v. Bell, __ F.3d __, 2005 WL 857009 (6th Cir.
2005)(applying Abdur'Rahman and holding that Alley’s posited
grounds for relief from judgment constitute a prohibited second or
successive application for habeas relief) with Aii§y, _m F.3d at
__, 2005 WL 857009 at l (Cole, J., concurring)(stating, joined by
four circuit judges, that Alley's claim for fraud on the court
raises a cognizable claim for relief from judgment pursuant to Rule
60(b)). Furthermore, Tennessee is currently seeking Supreme Court
review of Abdur’Rahman. See Bell v. Abdur’Rahman, No. 04-l247
(docketed March 16, 2005). The Supreme Court has granted
certiorari and is considering this very issue during its current

term. See Gonzalez v. Crosbv, No. 04-6432, cert. granted 543 U.S.

(2005). The Court is also aware that both Abdur'Rahman and

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Tennessee have filed amicus curiae briefs with the Supreme Court as
it considers Gonzalez.

Given all of the above, the Court finds that prudent
disposition of this matter requires further clarification from the
Supreme Court in this area of the law. Therefore, Respondent's
motion to vacate the stay of execution is denied, and the stay of
execution entered by this Court is hereby extended pending the
Supreme Court’s decision in Gonzalez and this Court's subsequent
consideration of Petitioner's Rule 60(b) motion. Because the Court
intends to consider Petitioner's motion for relief after Gonzalez
is decided, a status conference is not necessary at this time.
Accordingly, Petitioner’s motion for a status conference is denied,
though Petitioner may renew the motion after the Supreme Court

issues its decision in Gonzalez.

IT IS SO ORDERED this al day Of May 2005.

 

UNITED `STATES ISTRIC COURT - WETSEN DISRITTC oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 120 in
case 2:97-CV-03052 Was distributed by fax, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

